Case 2:O2-cr-20381-SHI\/| Document 216 Filed 08/23/05 Page 1 of 2 Page|D 281

IN THE UNITED S'I‘ATES DISTRICT COUR'I‘ F_II..ED BY_% U.C.
FOR THE WESTERN DISTRICT OF TENNESSEE

 

WESTERN DIVISION 05 mg 23 mg 5; 52
MMFS M. GOULD
UNITED sTATEs 0F AMERICA, CLEK U'S margin mm
W;D G-*: iii ?=€FN%?H!S
vs. NO. 02-20381-Ma

BRANDON WILLIAMS ,

Defendant.

 

ORDER RESETTING SENTENCING DATE

 

Before the court is the defendant's August 18, 2005, motion
to reset the sentencing of Brandon Williams, which is presently
set for August 22, 2005. For good cause shown, the motion is
granted. The sentencing of defendant Brandon Williams is reset
to Tuesday, October 4, 2005, at 1:30 p.m.

It is so ORDERED this dla'{day of August, 2005.

%(//1/)4,.._

SAMUEL H. MAYS, JR.
UNI'I'ED S'I'A'I‘ES DISTRICT JUDGE

 

Th'rs dochent entered on the docket sh§t in omp¥Eancs
with me 55 and/or szrb) mch on ___JQ_CQ_LL` 5 £/w

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 216 in
case 2:02-CR-20381 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

